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 1   Keith Ketterling (pro hac vice)                  Amy M. Zeman (SBN 273100)
     Lydia Anderson-Dana (pro hac vice)               Linda P. Lam (SBN 301461)
 2   Madeleine Holmes (pro hac vice)                  E. Wynne Tidwell (SBN 348179)
     Erin E. Roycroft (pro hac vice)                  GIBBS MURA LLP
 3                                                    1111 Broadway, Suite 2100
     STOLL BERNE
     209 SW Oak Street, Suite 500                     Oakland, California 94607
 4
     Portland, OR 97204                               Telephone: (510) 350-9700
 5   Telephone: (503) 227-1600                        amz@classlawgroup.com
                                                      lpl@classlawgroup.com
     Facsimile: (503) 227-6840
 6                                                    ewt@classlawgroup.com
     kketterling@stollberne.com
     landersondana@stollberne.com                     (Additional counsel on signature page)
 7
     mholmes@stollberne.com
 8   eroycroft@stollberne.com                         Counsel for Plaintiffs and the Class
 9   (Additional counsel on signature page)
10   Counsel for Defendant Umpqua Bank
11

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13
                              UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA

15
                                                  CASE NO.: 5:20-cv-05905-PCP
16 SHELA CAMENISCH, et al.,
                                                  JOINT NOTICE OF SETTLEMENT
17                       Plaintiffs,
                                                  Judge: Hon. P. Casey Pitts
18         vs.

19 UMPQUA BANK,

20                       Defendant.

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                                                                          CASE NO.: 5:20-cv-05905-PCP
                                       JOINT NOTICE OF SETTLEMENT
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 1            Plaintiffs Shela Camenisch, Dale Dean, Luna Baron, and Eva King individually and as

 2   Trustee of the Eva M. King Trust (“Plaintiffs”) and Defendant Umpqua Bank (“Umpqua”)

 3   (collectively, the “Parties”), by and through their undersigned counsel, hereby give the Court

 4   notice that the Parties have reached a settlement to resolve this action in its entirety on a classwide

 5   basis.

 6            The Parties respectfully request that all pending hearing and trial dates be vacated. The

 7   Parties are in the process of finalizing a settlement agreement. Plaintiffs anticipate filing their

 8   motion for preliminary settlement approval on May 1, 2025 or soon thereafter.

 9

10 Dated: March 27, 2025                                     Respectfully Submitted,

11                                                           By: /s/ Kasey J. Curtis
                                                             Keith Ketterling (pro hac vice)
12                                                           Lydia Anderson-Dana (pro hac vice)
                                                             Madeleine Holmes (pro hac vice)
13
                                                             Erin E. Roycroft (pro hac vice)
14                                                           STOLL BERNE
                                                             209 SW Oak Street, Suite 500
15                                                           Portland, OR 97204
                                                             Telephone: (503) 227-1600
16                                                           Facsimile: (503) 227-6840
17                                                           kketterling@stollberne.com
                                                             landersondana@stollberne.com
18                                                           mholmes@stollberne.com
                                                             eroycroft@stollberne.com
19
                                                             Kasey J. Curtis (SBN 268173)
20                                                           Charles P. Hyun (SBN 307817)
21                                                           Kathryn M. Bayes (SBN 334864)
                                                             Katherine P. Goetz (SBN 346205)
22                                                           REED SMITH LLP
                                                             515 Flower Street, Suite 4300
23                                                           Los Angeles, CA 90071
                                                             Telephone: (213) 457-8089
24                                                           Facsimile: (213) 457-8080
25                                                           kcurtis@reedsmith.com
                                                             chyun@reedsmith.com
26                                                           kbayes@reedsmith.com
                                                             kgoetz@reedsmith.com
27
                                                             Attorneys for Defendant Umpqua Bank
28

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 1 Dated: March 27, 2025                       By: /s/ Amy M. Zeman
                                               Amy M. Zeman (SBN 273100)
 2                                             Linda P. Lam (SBN 301461)
                                               E. Wynne Tidwell (SBN 348179)
 3
                                               GIBBS MURA LLP
 4                                             1111 Broadway, Suite 2100
                                               Oakland, California 94607
 5                                             Telephone: (510) 350-9700
                                               amz@classlawgroup.com
 6                                             lpl@classlawgroup.com
 7                                             ewt@classlawgroup.com

 8                                             Scott L. Silver (pro hac vice)
                                               Peter M. Spett (pro hac vice)
 9                                             Ryan A. Schwamm (pro hac vice)
                                               SILVER LAW GROUP
10                                             11780 W. Sample Road
11                                             Coral Springs, FL 33065
                                               Telephone: 954-755-4799
12                                             ssilver@silverlaw.com
                                               pspett@silverlaw.com
13                                             rschwamm@silverlaw.com
14                                             Geoffrey A. Munroe (SBN 228590)
15                                             LAW OFFICE OF
                                               GEOFFREY A. MUNROE
16                                             1435 Broad Street
                                               San Luis Obispo, CA 93401
17                                             Telephone: 925-788-8493
                                               gam@munroe-law.com
18

19                                             Counsel for Plaintiffs and the Class

20

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